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   8                      UNITED STATES DISTRICT COURT
   9                    CENTRAL DISTRICT OF CALIFORNIA
  10 NEMAN BROTHERS & ASSOC.,                 Case No. 2:20-cv-11181-CAS-JPRx
     INC., a California Corporation,
  11              Plaintiff,                  ORDER RE JOINT
                                              STIPULATION TO AMEND
  12       v.                                 SCHEDULING ORDER
  13 INTERFOCUS, INC. d.b.a.
  14 www.patpat.com,  a Delaware
     Corporation; and DOES 1-10, inclusive,
  15             Defendants.
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                        JOINT STIPULATION TO AMEND SCHEDULING ORDER
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   1        IT IS HEREBY STIPULATED by the parties, to provide experts a short
   2 period of time after fact discovery cutoff to prepare expert reports, subject to the
   3 approval of the Court, that the Scheduling Order in this matter [Dkt. 26], be
   4 amended as follows:
   5
                 Deadline                 Current Dates          Stipulated Proposed
   6                                                                    Dates
   7   Fact Discovery Cutoff          11/30/2021                11/30/2021
       Exchange of Initial expert     9/30/2021                 12/17/2021
   8   report
   9   Exchange of Rebuttal expert    11/1/2021                 1/07/2022
       report
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       Expert Discovery cutoff        11/30/2021                1/24/2022
  11   Filing of Summary              12/30/2021                1/31/2022
       Judgement motion based on
  12
       expert report
  13   Last day to file motions       1/10/2022                 1/28/2022
  14   Conference of Counsel prior    2/7/2022                  2/28/2022
       to filing Motion in Limine
  15   Pretrial conference/Hearing    3/14/2022                 4/5/2022
  16   on Motions in Limine
       First Day of trial             3/29/2022                 4/19/2022
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       Dated: September 17, 2021
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  21                                            Christine A. Snyder
                                                United States District Judge
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                            JOINT STIPULATION TO AMEND SCHEDULING ORDER
